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                        AFFIDAVIT OF JAWORSKI DAVENPORT



STATE OF MISSISSIPPI
COUNTY OF HINDS

        PERSONALLY CAME and appeared before me, the undersigned authority in and for

said county and state, within my jurisdiction, the within named JAWORSKI DAVENPORT,

who, having been duly sworn by me, states on oath the following:


        1.     My name is Jaworski Davenport.

        2.     I am over the age of 21.

        3.     I am competent to address the matters set forth below in this Affidavit.

        4.     The matters set forth in this Affidavit are based on my personal knowledge and

the business records of the Mississippi Department of Child Protection Services and its

predecessor the Mississippi Department of Human Services Division of Family and Children's

Services and are true and correct to the best of my knowledge, information and belief.

        5.     I will reference, in footnotes in my Affidavit, documents previously filed with the

Court and exhibits filed with Defendants' Response to Plaintiffs' Motion for ReliefPursuant to

Remedy Phase ofPlaintiffs' Renewed Motionfor Contempt,for an Evidentiary Hearing, andfor

the Appointment ofa Receiver(Doc. 754).

        6.     I am the Deputy Commissioner of Child Safety for the Mississippi Department

Child Protection Services. I have served in this position since July 1, 2018.

        7.     In this role, I supervise three Office Directors who manage respectively the

Continuous Quality Improvement Unit, Data and Federal Reporting Unit and Special Projects

Unit.




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         8.      Prior to my selection and promotion to my current position of Deputy

 Commissioner of Child Safety, I served as MDCPS's Deputy Director for Field Operations and

 Data Analysis under Ms. Tracy Malone.

         9.      I am a licensed master's level social worker. I have a master's degree in social

 work and a PhD with emphasis in social work.

         10.     I have over 16 years of experience working in child welfare. I have worked as a

 caseworker, child welfare data analyst, as well as lead for state, federal, and court monitor

 scheduled case record reviews.


                                  90% Fixed Caseload Cap Overview

         11.     I am familiar with the 90% Fixed Caseload Cap incorporated in the STRO and the

 2nd MSA.

         12.     The 90% Fixed Caseworker Caseload Cap has two fixed caps. The first is a

 mathematical 1.0 time-based cap under a weighted value matrix that takes into consideration ten

 different service types/functions. The weights were based on a 2005 study. That study has not

 been updated to reflect changed conditions and more current best practices in child welfare. The

 second is a caseload compliance cap. Under this second cap, 90% of all MDCPS caseworkers,

 adoption workers, and licensure workers were to meet the 1.0 weighted value standard by

 December 31, 2017.

         13.     Caseload performance under the weighted value system is reported in a

 Mississippi Performance On Case Load Standards reports based on data for a specific date.1 The,

 report reflects as a "Met" category the percent of "Overall", and three sub-groups "Frontline"

(i.e. traditional caseworkers), "Adoption and Licensure" and SIU (Special Investigation Unit)



 1 Defendants' Response to Plaintiffs' 2nd RPD #8 - filed October 19,2018 - MDCPS 1187111887

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workers that are less than or equal to the 1.0 weighted value standard. These workers are often

described collectively as frontline workers. The report also sets forth a percentage compliance

for the same groups (Overall, Front Line and Adoption and Licensure workers) for a "Close"

category, which is defined as workers with a weighted value greater than 1.0 but less than or

equal to 1.2, and an "Over" category for workers greater than 1.2. The Close category is

significant because the addition of even a single one of the 10 service types will move a worker

with a 1.0 value or less from the Met category to a non-compliance category. The Met and Close

combined data is a more realistic and reasonable measure of case worker caseloads in

Mississippi.

       14.     The caseload report also provides a rough estimate of the number of staff needed

so that 90% and 100% of caseworkers are compliant. The estimate computes a total for each

service type and divide that number into the weighted value of each type to get the number of

workers needed to staff all of the work. These numbers are summed across all types and

multiplied by .90 and 100 respectively to get the number of staff needed. For additional staff

needed, the total staff needed is subtracted from the number of actual workers.

       Historical Caseload Compliance

       15.     In keeping with the STRO, in March 2017, Public Catalyst established a baseline

regarding caseload using data from September 30, 2016. At that time 31% of MDCPS' frontline

caseworkers carried caseloads within the 1.0 Met standard. Another 12% were in the Close

category. The combined Met/Close percentage was 43% and the percent of 1.2 or "Over" was

57%.

       16.     On September 15, 2017, the Met percentage was 50%, a 7% decrease from the

prior two weeks' caseload observation, Close was 14%, a 4% increase from the prior two weeks.



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The Met/Close percentage was 64% and the Over percentage was 36%, a 3% increase from the

prior two weeks - with only a little over three months remaining before the December 31, 2017

deadline that required 90% of the Agency's caseworkers to carry caseloads within the Met

standard.

       17.        The Caseload report for July 31, 2019 reflects the Met percentage is 55%,

Met/Close percentage is 77%, and Over is 23%.

       18.        Using the baseline set in March 2017 and the most current caseload data, this

information establishes the following related to caseload: (1) The Met percentage has increased

77% (31% to 55%); (2) The Close percentage has increased by 83% (12% to 22%); (3) the

Met/Close percentage, which is a more accurate reflection of performance, has increased by 79%

(43% to 77%); and (4) The Over percentage has decreased by 60%(57% to 23%).


                                 Overall Worker Caseloads


        100%
            90%
            80%
            70%
                                                                                ■ Met
            60%
                                                                                ■ Close
            50%
                                                                                    Over
            40%
            30%
            20%
            10%
            0%
                       9/30/16          9/15/17          7/31/19




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        Data Reporting


         18.     MDCPS data reporting staff are vigilantly working with the Monitor to modify or

rewrite the coding behind the Agency's data reports to fix the data validation issues identified in

the Monitor's report.

         19.     In November 2018, MDCPS submitted its first annual CQI plan under the 2nd

MSA to the Monitor for review. That plan was reviewed by Plaintiffs and the Monitor,

subsequently approved by the Monitor, and is being implemented by MDCPS in 2019 as

contemplated by Section 1.4 of the 2nd MSA.

        20.      The CQI plan uses case reviews conducted by MDCPS CQI staff and other units

to determine MDCPS's performance on measures that cannot be reported quantitatively by

MACWIS. Because the current CQI plan was not approved by the Monitor until April 2019,

MDCPS did not report performance for 2018 to the Monitor, for the following Sections as they

were included in the CQI plan: 4.2, 4.3, 4.7, 4.10, 5.1.a, 5.1.d, 5.2.a, 5.2.b, 5.2.b.1, 5.2.b.2-4,

5.2.b.3, 5.2.b.4.a-c, 6.1.a, 6.1.c., 6.1.d, 6.2.a, 5.1.c, 6.3.a.1, 6.3.a.2, 6.3.a.3, 6.3.a.4, 6.3.a.62,

6.2.b.1, 6.3.b.2, 6.3.b.3, 6.3.d.1, 6.3.d.2, 6.3.e, 6.4.a, 6.4.b, 7.1, 7.2, 7.2, 7.8, 7.8.a, 7.8.b, 7.8.c,

7.8.d, 7.8.e, 7.8.f, 7.8.g, 7.8.h, 7.8.i, 7.8.j, 7.8.k, 8.1.d, 8.1.f, 8.1.g., 8.2.a, 8.2.b, and 8.2.c.

MDCPS will report on each of these sections for 2019 and in future years based on the CQI Plan.

        21.       MDCPS's first annual CQI plan under the 2nd MSA is now in effect, with case

reviews ongoing, so that MDCPS will be able to report on provisions that it could not in 2018.

        22.      In 2018, MDCPS made reasonable efforts to secure a timely court review for at

least 80% of the children who had been in custody for 12 months. However, reasonable steps to

obtain the hearing is not a quantifiable measure that can be extracted from MACWIS. Rather,

26.3.a.6 was inadvertently left out of the CQI plan. A proposal was submitted to the monitors on July 18, 2019 with a
plan to review and report on that provision. MDCPS is awaiting approval.

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this is a qualitative measure that must be monitored with a qualitative review. With the

monitoring in place under this CQI, MDCPS's performance on this provision has been measured

at 87% and 89% for the first and second quarters respectively of 2019.

       23.       In addition to this qualitative review for measuring timely court reviews, the final

report from each foster care review — conducted for every child every six months — is filed with

the appropriate youth court. MDCPS has added to that report an option to request a review

hearing, ensuring that staff consider whether to request a hearing at least every time a foster care

review occurs.

       24.       Early in 2018, the Safety Review Unit (SRU) used an online instrument to

conduct screen-out reviews. This instrument existed outside the MDCPS database, and the data

from the online instrument was lost and could not be recovered. This issue was discovered in the

middle of 2018, and MDCPS worked with the vendor to try to recover the data, but the vendor

was unable to do so. This lost data accounts for most, if not all, of the screen out reviews that

could not be documented in 2018. An error was also discovered in the coding of a report that

identified SIU investigations for SRU review. This error has been remedied.


       FURTHER AFFIANT SAYETH NOT,this the 3 day of r-e-/0 e46--, 2019.




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